Case: 1:17-cv-07828 Document #: 102 Filed: 11/21/19 Page 1 of 4 PagelD #:838

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
DALONNO JOHNSON, )
) Case No. 17 C 7828
Plaintiff, )
) District Judge Mary M. Rowland
v. )
) Magistrate Judge Gabriel A. Fuentes
SOO LINE RAILROAD CO., )
)
Defendant. )

ORDER
Defendant Soo Line Railroad Co. (“Defendant”) filed Motion To Compel, upon which this
Court ruled on August 27, 2019, by granting the motion in part. (D.E. 82.) For current purposes,
the Court’s Order compelled Plaintiff Dalonno Johnson (“Plaintiff”) to do the following by

September 27, 2019:

e Supplement his response to Interrogatory No. 10 by identifying all complaints, claims,
investigations, proceedings (including bankruptcy proceedings), arbitrations, grievances,
or charges with any court, arbitrator, administrative or governmental agency, and as to
which Plaintiff was a party, dating back to January 1, 2008;

e Supplement his response to Interrogatory No. 13 by identifying medical providers with
whom Plaintiff consulted or from whom he sought counseling or treatment of any kind,
dating back to January 1, 2008;!

e Supplement his response to Interrogatory No. 19 by identifying (by name, address, and
telephone number) all of his employers, and identifying his dates of employment, job
title(s), job duties and responsibilities, compensation, supervisor and reason(s) for leaving,
dating back to January 1, 2008; and

e Provide the foregoing supplemental interrogatory responses under oath, as required by
Rule 33(b)(3).

1 In an effort to provide Plaintiff with assurances as to the confidential treatment of any produced medical records,
the Court entered a protective order on September 30, 2019. (D.E. 91.)
Case: 1:17-cv-07828 Document #: 102 Filed: 11/21/19 Page 2 of 4 PagelD #:839

On November 14, 2019, Judge Rowland was informed at a status hearing that Plaintiff was
not providing discovery by not giving Defendant certain medical authorization releases to allow
providers he had so far identified to release medical records to Defendant under subpoena. Judge
Rowland entered an order compelling Plaintiff to provide the authorizations immediately, as in no

later than November 15, 2019, with the records to be treated as attorneys’ eyes only. (D.E. 96.)

Judge Rowland’s order also provided for this Court to continue to supervise discovery and
discovery compliance. (/d.) This Court ordered a prompt status hearing for November 21, 2019,
to discuss discovery compliance issues. (D.E. 97.) Defendant then filed a motion to dismiss this
matter for want of prosecution (D.E. 98) for consideration by Judge Rowland, based on matters

including Plaintiff's non-compliance with orders by the magistrate judge and Judge Rowland. (See

D.E. 82, 96.)
At the magistrate judge’s status hearing on November 21, 2019:

e Plaintiff confirmed that he has not complied with Judge Rowland’s November 14, 2019
order (D.E. 96) and did not seek relief from that order. Plaintiff stated that his non-
compliance was related to his stated concerns that the medical authorization releases are
not date-limited to after January 1, 2008, that they do not restrict access beyond
Defendant’s attorneys, and that Defendant has not provided certain discovery to which
Plaintiff believes he is entitled. In open court, the magistrate judge construed these
responses as objections to Judge Rowland’s order (and not as valid reasons not to comply
with that order) and overruled those objections;

e Plaintiff confirmed that in his October 22, 2019 supplemental interrogatory responses, he
did not identify medical providers dating back to January 1, 2008, but said there were no
such providers to identify other than those he listed in the supplemental response to
Interrogatory No. 13 because he did not seek or obtain treatment during the time frame
between that date and the date of treatment he sought or received from the providers he did
identify in the response—yet he also confirmed that he did not verify the response under
oath and did not understand Rule 33(b)(3)’s requirement of sworn interrogatory responses;

e Defendant stated that it has advised Plaintiff by email that Defendant believes Plaintiff has
not complied with this Court’s August 27, 2019 order (D.E. 82) in that Plaintiff's
supplemental interrogatory responses to Interrogatory Nos. 10 and 19 do not provide
responsive information to those respective interrogatories dating back to January 1, 2008;
Plaintiff stated at the status hearing that he has no responsive information to provide for

2
Case: 1:17-cv-07828 Document #: 102 Filed: 11/21/19 Page 3 of 4 PagelD #:840

that time frame, other than what he included in his supplemental responses, which again
were not made under oath as required by Rule 33(b)(3) and as ordered by the Court;

The Court explained to Defendant fully the meaning of Rule 33(b)(3), the oath requirement,
and the need to provide sworn verifications for his October 22 interrogatory responses and
any supplemental response he will be required further to make under this Order; he was
further directed to 28 U.S.C. § 1746, allowing for sworn declarations or verifications to be
made and executed within the United States by the following language: “I declare (or
certify, verify, or state) under penalty of perjury that the foregoing is true and correct.
Executed on (date). (Signature)”; and

The Court repeatedly stated that it intended to compel Plaintiff to (1) supplement his
responses to Interrogatory Nos. 10, 13, and 19 under oath, and to include in his sworn
supplemental responses, if applicable, an explicit statement that he does not possess
responsive information dating back to January 1, 2008; (2) provide sworn verifications to
his October 22 supplemental interrogatory responses and to his further supplemental
responses to Interrogatory Nos. 10, 13, and 19, as compelled by this Order; and (3) provide
executed medical authorization release forms to Defendant for all providers he has
identified, as earlier compelled by Judge Rowland, all no later than 4 p.m. Monday,
November 25, 2019. The Court then repeatedly asked Plaintiff on the record to confirm
that he fully understood what the Court intended to order him to do, and Plaintiff at times
said he understood, and at times said he “guess[ed]” he understood. The Court hereby finds
that notwithstanding Plaintiffs at-times equivocal answers, the Court explained its
intended orders fully and completely, such that there is no room for any later claim that the
Court’s order of today was somehow not clear or not understood.

Upon the Court having been fully advised in the premises of the status of Plaintiff’s non-

compliance with the magistrate judge’s order of August 27 and the district judge’s order of

November 14, the Court hereby orders Plaintiff, no later than 4 p.m. Monday, November 25, 2019,

to: |

(1) Supplement his responses to Interrogatory Nos. 10, 13, and 19 under oath, and to
include in his sworn supplemental responses, if applicable, an explicit statement that he
does not possess responsive information dating back to January 1, 2008;

(2) Provide sworn verifications to his October 22 supplemental interrogatory responses and

to his further supplemental responses to Interrogatory Nos. 10, 13, and 19, as compelled
by this Order; and

(3) Provide executed medical authorization release forms to Defendant for all providers he
has identified, as earlier compelled by Judge Rowland.
Case: 1:17-cv-07828 Document #: 102 Filed: 11/21/19 Page 4 of 4 PagelD #:841

Further, the Court, as a preliminary measure in response to Plaintiff's failure to comply
with the orders dated August 27 and November 14, and per Rule 37(b)(2)(A)(iv), orders that
further discovery obligations of Defendant (including an expert disclosure due December 15, 2019,
the taking of any related expert deposition by January 31, 2020, and the taking of Plaintiff's
deposition by the same discovery cutoff date) are stayed until further order of Court. Plaintiff's
discovery obligations under this Order (and the orders dated August 27 and November 14) are not
stayed.

The Court schedules a status hearing for 10:30 a.m. November 26, 2019, before the
magistrate judge to discuss compliance with this Order. That status hearing will take place
regardless of whether the district judge holds a hearing as scheduled on November 26, 2019.
Plaintiff may appear telephonically at the magistrate judge’s status on November 26, 2019. The
magistrate judge and the Court retain the discretion to entertain the full range of remedies available
under the Federal Rules of Civil Procedure in the event of any further noncompliance with the

Court’s discovery orders.

SO ORDERED.
ENTER:

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GABRIEL A. FUENTES
United States Magistrate Judge

DATED: November 21, 2019
